Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 1 of 21 PageID 13




                                                                   EXHIBIT C
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 2 of 21 PageID 14
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 3 of 21 PageID 15
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 4 of 21 PageID 16
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 5 of 21 PageID 17
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 6 of 21 PageID 18
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 7 of 21 PageID 19
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 8 of 21 PageID 20
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 9 of 21 PageID 21
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 10 of 21 PageID 22
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 11 of 21 PageID 23
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 12 of 21 PageID 24
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 13 of 21 PageID 25
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 14 of 21 PageID 26
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 15 of 21 PageID 27
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 16 of 21 PageID 28
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 17 of 21 PageID 29
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 18 of 21 PageID 30
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 19 of 21 PageID 31
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 20 of 21 PageID 32
Case 4:17-cv-00540-Y Document 1-5 Filed 07/05/17   Page 21 of 21 PageID 33
